 

Case 3:14-cv-00063-JWD-EWD Document1 01/30/14 Page 1 of 26

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A COMPLAINT UNDER THE CIVILRIGHTS ACT

42 U.S.C. § 1983 RECEIVED

UNITED STATES DISTRICT COURT JAN 36 2014
MIDDLE DISTRICT OF LOUISIANA
Legal Programs
JASON HACKER #383727
(Enter the full name of each inmate (DOC Number)
Plaintiff in this action.)

VERSUS

N. BURL CAIN, WARDEN;

DR. RAHM SINGH, DPS&C MEDICAL DIRECTOR;
ASSISTANT WARDEN STEPHANIE LAMARTINIERE;
JASON COLLINS, M.D.

(Print the full name of all defendants in this action)

DO NOT WRITE e al

Instructions for Filing Complaint by Prisoners
Under the Civil Rights Act, 42 U.S.C. $1983.

This packet includes two copies of a complaint form and one copy of the pauper affidavit.

IF YOU ARE A PARISH PRISONER, you must file an original and one copy of your
complaint for each defendant you name. For example, if you name two defendants, you must file
the original and two copies of the complaint. You should also keep an additional copy of the
complaint for your own records.

IF YOU ARE A D.O.C. PRISONER, you must file an original and one copy of your
complaint If the defendants are still employed by the Department of Public Safety and
Corrections, only one service copy is needed. Otherwise, you must supply a copy of the
complaint and the service address for each defendant no longer employed by the Department of
Public Safety and Corrections.

 

The names of all parties must be listed in the caption and in part III of the complaint
exactly the same.

In order for this complaint to be filed, it must be accompanied by the filing fee of
$450.00. In addition, the United States Marshal will require you to pay the cost af serving the
complaint on cach of the defendants.

If you are unable to pre-pay the filing fee and service costs, you may petition the court to
proceed in forma pauperis. For this purpose, a. pauper affidavit is included in this packet. You
must sign the affidavit, and obtain the signature of an authorized officer certifying the amount of
money in your inmate account until the entire filing fee is paid.

 
 

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You will note that you are required to give facts. THIS COMPLAINT SHOULD NOT

CONTAIN LEGAL ARGUMENTS OR CITATIONS. ALSO, DO NOT INCLUDE EXHIBITS.

 

When you have completed these forms, mail the original and copies to the Clerk of the

United States District Court for the Middle District of Louisiana, 777 Florida Street, Suife 139,
Baton Rouge, La 70801-1712.

L.

il.

Previous Lawsuits

A. Have you begun other lawsuits in state or federal court dealing with the same
facts involved in this action or otherwise relating to your imprisonment? Yes { )No(X)

B. if your answer to A is yes, describe each lausuit in the space below: (If there is
more than one lawsuit, describe the additional lawsnits on another piece of paper, using
the same outline.)

L. Parties to this previous lawsuit
Plaintiffs):

 

Defendant(s):

 

 

2. Court (if federal court, name the district; if etate court, name the parieh)-

 

3. Docket number:

 

4. Name of judge to whom case was assigned:

 

 

5. Disposition (for example: Was the case dismissed? Was it appealed? Is it still
pending?):

 

 

6. Date of filing lawsuit:
7. Date of disposition:

 

 

Cc: Have you had any previously filed federal lawsuits or appeals, whether or not
related to the issues raised in this complaint, dismissed by any federal court as frivolous,
malicious, or for failure to state a claim for which relief can be granted? Yes { )No(X)
If your answer is yes, list the civil action numbers and the disposition of each case. You
must identify in which federal district or appellate court the action was brought.

 

Place of present confinement: LOUISIANA STATE PENITENTIARY

 

 
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A. Is there a prisoner grievance procedure in this institution?

Yes (X )No ( )
B. Did you present the facts relating to your complaint in the state prisoner
grievance procedure?

Yes (X }No ( )

Cc. If your answer is YES:

1. Identify the administrative grievance procedure number(s) in which the claims
raised in this complaint were addressed. _LSP-2013-2554

2. What steps did you take? Both Steps Exhausted

 

3. What was the result? Relief Denied

DD. SF your answer is NO, explain why nat:

 

Parties

(In Item A below, place your name in the first blank and place your present address in
the second blank. Do the same for additional plaintiffs, if any.)

A. Name of plaintifl(s) JASON HACKER
Address OAK-4 LOUISIANA STATE PENITENTIARY ANGOLA, LA 70712
In Item B below, place the full name of the defendant in the first blank, his official
position in the second blank, and his place of employment in the third blank. Use Ifem
C for the names, positions, and places of employment of any additional defendants.

B. Defendant N. BURL CAIN is employed as Warden

at the Louisiana State Penitentiary at Anco ouigiana

C: Additional Defendants DR. RAHM SINGH is employed as Medical Director
at the Louisiana Department of Public Safety & Corrections

dD Defendant STEPHANIE LAMARTINIERE is employed as Asst. Warden

at the Louisiana State Penitentiary at Angola, Louisiana
E. Defendant JASON COLLINS, MLD. is employed as Medical Director

Louisiana State Penitentiary at Angola Louisiana

 

 

 

 
IV.

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Statement of Claim
State here az briefly as possible the facts af your case. Describe haw each defendant is

invalved. Include also the names of other persons involved, dates, and places. De not

; § atutes. If you intend to allege a
slacker af related claims, number and set forth each claim in a separate paragraph. (Use
ag much space as you need. Attach extra sheets if necessary.)

 

Plaintiff is being denied adequate medical care. Plaintiff avers that the
Defendants have been deliberately indifferent to his serious medical needs

coouliing in unnecessary pain and suffering and loss of sight in violation of

Rehef

State briefly exactly what you want the court to do for you. Make no legal arguments.
Cite no cases or statutes. Attach no exhibits.

 

Plaintiff seeks Declaratory and Injunctive relief and requests monetary damages
for t i ino and loss of st auised a result of the deliberate

indifference to his serious medical needs.

 
VI.

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Plaintiff's Declaration

1. I understand that Iam prohibited from bringing a civil actian in forma panperis if,
while I was incarcerated or detained in any facility, I have brought three or more civil
actions or appeals in a court of the United States that were dismissed on the grounds that
they were frivolous, malicions, or failed ta state a claim upon which relief may be
granted, unless I am in imminent danger of serious physical injury.

2. I understand that even if I am allowed to proceed in forma pauperis, I am
responsible for paying the entire filing fee and any costs asseased by the Court, which,
after payment of the partial initial filing fee, shall be deducted from my inmate account
by my custodian in installment payments as prescribed by law.

3. I understand that if1 am released or transferred, it is my responsibility to keep the
Court informed of my whereabouts and failure to do so may result in this action being

 

dismissed with prejudice.
Signed thisdAday of LD , 2014
/ Z

( ae Jalen
Signature of Binintifi(s)

I declare under penalty of perjury that the foregoing is true and correct.

Executed On: /-E& SE.

 

 

 

 
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IN THE
UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF LOUISIANA

 

 

 

 

JURY TRIAL DEMANDED
JASON HACKER #383727 CIVIL ACTION
Plaintiff
WO.
- Versis -
N. BURL CAIN, WARDEN;
DR. RAHM SINGH, DPS&C MEDICAL DIRECTOR;
ASSISTANT WARDEN STEPHANIE LAMARTINIERE;
JASON COLLINS, M.D.
Defendants JUDGE
MAGISTRATE
FILED:
CLERK OF COURT

LEELA E KERALA RAR ARAKRRRARARRRRRARAARARARARARAKRRAARRRARRE RK

CIVIL RIGHTS COMPLAINT WITH JURY DEMAND UNDER 42 U.S.C. § 1983
FOR MONETARY DAMAGES, DECLARATORY AND INJUNCTIVE RELIEF
de de eM HHAKAAKRAAAAAKBAAARRAARAAAEKAEAREEERAKRAREAKKRER

This is a civil rights action filed by JASON HACKER #383727, a state prisoner, for
monetary damages, declaratory and injunctive relief pursuant to 42 U.S.C. § 1983,
alleging deliberate indifference to his serious medical needs in violation of the Eighth
Amendment to the United States Constitution. Plaintiff requests a trial by jury.

JURISDICTION
i. This Court has jurisdiction over Plaintiff's claims of violating Federal

Constitutional rights under 28 U.S.C. §§ 1331 and 1343.

 
 

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2. ‘The Court has supplemental jurisdiction over Plaintiff's State law claims
under 28 U.S.C. § 1367.
INTERESTED PARTIES
3. Plaintiff, JASON HACKER, is a state prisoner who is incarcerated at the
Louisiana State Penitentiary, Angola, Louisiana (LSP).
4. Defendant Rahm Singh, M.D., is the final and controlling medical
authority for the Department. He is personally responsible for assuring access to. and

are to prisoners at all Department institutions. He haz the same

 

responsibilities as that of the Medical Director at the Louisiana State Penitentiary,
however, his duties and authority extends Department wide. Plaintiff submits that
Defendant Singh was aware, or should have been aware of the numerous grievances and
suits filed by other Offenders pertinent to inadequate medical care and/or unconstitutional
conditions, and he took no steps to abate the madequate and/or unconstitutional care
being provided. Plaintiff submits that Dr. Singh has knowingly precluded access and
delivery of needed medical care and surgery based upon Jack of funds and cost.
Defendant Singh is sued in his official capacity for purpose of declaratory and
injunctive relief.

5: Nathan Burl Cain is the Warden over the Louisiana State Penitentiary and
also serves as a Regional Warden. Defendant Cain is responsible for assuring access to,

are to prisoners at the Louisiana State Penitentiary.

 

Defendant Cain interprets and implements policy as well as new and revised policy.

 

 
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Warden Cain meets periodically with the Assistant Warden of Medical Services and the
Medical Director pertinent ta providing medical care. All grievances are originally
directed to the Warden's Office for review and then forwarded to appropriate Department
Heads for response. Plaintiff submits that Defendant Cain was aware, or should have
been aware of the numerous grievances and suits filed by other Offenders pertinent to
inadequate medical care and/or unconstitutional conditions, and he took no steps to abate
the inadequate and/or unconstitutional care being provided. The failure to take steps to
abate the inadequate and/or unconstitutional medical care being provided evinces
deliberate indifference to the serious medical needs of Plaintiff and others. Combined,
Defendant Cain has personal involvement sufficient for purposes of 42 U.S.C. § 1983.
Defendant Cain is sued in his official capacity for purpose of declaratory and
injunctive relief.

é. Defendant Stephanie Lamartiniere is Assistant Warden over Medical
Services at the Louisiana State Penitentiary. Defendant Lamartiniere recently assumed
the position and duties of Assistant Warden of the Treatment Center and held this position
during much of the time involving the instant complaint.

Assistant Wardens of the Treatment Center interpret and implement all existing

policy as well as new and revised policy. Plaintiff submits that the position of Assistant

Warden over the Treatment Center requires supervision of the entire Medical Services

Department. Plaintiff submits that the responsibilities of this position include amongst

others, ta: (1) direct and coordinate all activities of all departments within the treatment

 

 
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center to ensure federal and state laws, regulations, professional standards, and
institutional goals are followed; (2) conduct periodic inspections to ensure maxi
efficiency and effectiveness, which includes review of performance reports completed by
supervisors and counseling on rule infractions, (3) interpret and implement all existing
policy as well as new and revised policy, (4) respond to Requests for Administrative
Remedy submitted by Offenders regarding medical complaints, and (5) investigate
matters of medical and treatment nature. Obviously, the above duties are not being
performed. The actions and/or inactions of Defendant Lamartiniere far from meets
professional standards and violates both federal and state law.

Plaintiff further submits that Defendant Lamartiniere does not possess the medical
qualifications to work in this position. Plaintiff submits that Defendant Lamartiniere is
not a physician, a nurse, or even an EMT. In spite of the above, Defendant Lamartimiere
was appointed and assumed these responsibilities.

Assistant Warden Lamartiniere responded to Plaintiff's Request for Administrative
Remedy alleging deliberate indifference. Therefore, she was aware of Plaintiff's
grievance and aware of the plethora of repeated grievances and/or suits filed by other
offenders pertinent to inadequate medical care and/or unconstitutional conditions.
However, Assistant Warden Lamartiniere took no steps to abate the inadequate care
and/or unconstitutional conditions provided. Assistant Warden Lamartiniere disregarded
the risk of harm to Plaintiff's health and other offenders by failing to take reasonable

measures to abate the risk of harm indicating deliberate indifference. Defendant

 

 
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Lamartiniere is wed in her individual and official capacities.

7. Jason Collins, M_D., is the Medical Director at the R. E. Barrow Treatment
Center at the Louisiana State Penitentiary and superseded Dr. Jonathan Roundiree. As
Medical Director, Dr. Collins is responsible for ensuring that. inmates receive reasonable
and adequate medical care, including but not limited to diagnosis, prescribing medication,
and assuring that outside treatment and/or surgery is scheduled and received in a timely
manner when indicated. Dr. Collins is also responsible for supervising the other
physicians and EMT's to assure they are providing proper care and treatment.

Dr. Collins is personally involved in treating patients and supervises the other
physicians rendering treatment. Dr. Collins is aware of the facts presented herem.
Plaintiff submits that Dr. Collins was and is aware that Plaintiff suffers from pain and
burning in his eyes, loss of sight causing disruption of and inability to perform daily
living activities. Dr. Collins is aware that many offenders are suffering from lack of
needed medical care, and aware that Plaintiff and others, are being informed that needed
care or surgery will not be performed due to lack of funds. Dr. Collins failed to assure
that necessary care or surgery is provided to abate the unnecessary pain and suffering
and/or assure that other treating physicians provided adequate care for same, including
the necessity for surgery. This violates the Constitutionally guaranteed right to
reasonable medical care and right to be free from cruel and unusual treatment and evinces
deliberate indifference to the serious medical needs of Plaintiff and others. Dr. Collins is

sued in his individual and official capacities.

 

 
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8. Plaintiit submits that all of the Defendants have failed to provide adequate
medical care and failed io correct the unconstitutional deficiencies in access to and
delivery of medical care in violation of the Eighth Amendment. Plamtiff reserves the
right to amend the complaint and add or delete Defendants if necessary. All Defendants
have acted, and continue to act, under color of State law at all times relevant to this
complaint.

STATEMENT OF THE CASE

Plaintiff filed Request for Administrative Remedy in this matter as a result of
systemic deficiencies and deliberate indifference to his serious medical needs. The
Request for Administrative Remedy in this matter was accepted and assigned LSP-2013-
2544. The Department denied relief at the First Step. Plamtif was not satisfied with the
First Step Response and timely requested review at the Second Step. The Second Step
was denied on 11/27/13. Plaintiff avers that he has exhausted both steps m the process
prior to filing the instant complaint. (See attached Exhibit)

STATEMENT OF FACTS

For the past two years Plaintiff has suffered continuous loss of sight due to
“Cataracts.” Beginning at the end of 2011, and through the year 2012, Plaintiff was sent
to outside eye specialist at the “Pennington Research Center” in Baton Rouge, Louisiana.
After four trips, the eye specialist informed Plaintiff that he suffered from “severe
cataracts in both eyes.”

in January 2013, Plaintiff again visited the eye doctor at the Louisiana State

 
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Penitentiary (LSP). During that visit, Plaintiff complained that he could not see and that
his right eye was failing at what seemed like an even greater rate than when first seen. At
this, the eye doctor agreed. During that same visit, the eye doctor again scheduled
Plaintiff to visit an eye specialist—this time with “Charity Hospital’ in New Orleans,
Louisiana.

On or about April 3, 2013, an eye specialist at Charity Hospital verified the fact
that Plaintiff suffered from a severe case of “cataracts”” The specialist assured Plaintiff
that he would inform the Medical Director at LSP of his need for “immediate cataract
surgery in both eyes.” The specialist said he would include the fact that Plaintiff's cataract
condition was the reason for him going blind and that surgery would “correct and restore”
his viston.

On or about May 6, 2013, while at work in a “field line’ Plaintiff was expected to
perform “regular duty,” i.e, perform like the rest of the workers—as if nothing were
wrong with his sight. Plaintiff declared himself a medical emergency. At that time,
Plaintiff explained to the EMT that he could only see six to eight feet in his left eye, and
that he practically had no sight in his right eye. Additionally, Plaintiff explained to the
EMT that, as he understood the specialist at Charity Hospital, he was supposed to receive
eye surgery. While speaking with the EMT, Plaintiff complained that, after his visit with
the eye specialist, he was not issued a duty status for his medical condition.

On or about May 16, 2013, Plaintiff again declared himself a medical emergency

because of pain and buming in his eyes, his inability to see, and his inability to perform

 
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his work detail as would someone without a disability. Plaintiff again was issued a three
day duty status. Plaintiff was again informed that his concern would be referred to the
LSP eye doctor. For the second time, Plaintiff asked: “If awaiting eye surgery, why have
I not received a standard duty status as a result of my failing sight.”

On or about june 5, 2013, Plaintiff was finally seen by the LSP eye doctor.
Plaintiff was given another examination wherein the doctor quickly determined that he
was “legally blind.” The eye doctor further explained that due to lack of funds, he would
not receive the surgery, and according to the LSP Medical Director, the only way he
would receive the eye surgery is if he was “bleeding from the eyes” or it was a life or
death situation. Plaintiff explained to the eye doctor that his condition was an emergency
to no avail. The LSP eye doctor informed Plamtiff that if he did not get the needed
surgery, he would end up completely blind. It was made clear that without the needed
surgery his medical condition would worsen and result in a lifelong handicap with
permanent loss of sight.

On August 21, 2013, Plaintiff again visited the LSP eye doctor. During that visit,
Plaintiff was again informed that he would not receive the surgery as a result of cost/lack
of funds, and that it was not a life or death situation.

Plaintiff now suffers continued pain, both physical and mental. Plaintiff submits
that as a result of the intentional inordinate delays, and knowing denial of needed medical
care, he has become legally blind. Also, the failure of Defendants Singh, Cain, and

Lamartiniere, to remedy ongoing constitutional violations of which they were aware,

 
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amounts to deliberate indifference.

This is not a matter of Plaintiff disagreeing with diagnosis as diagnosis was
provided. This is not a disagreement with treatment because no treatment is being
provided.

The Defendants have been aware, or should have been aware for extended period
of time that Plaintiff is suffering with pain and burning in his eyes, and that this is
severely affecting Plaintiff performing daily activities. They are all also aware that
Plaintiff is not the only offender being subjected to inordinate delay and denial of needed
medical care or surgery. This is not a single incident and the denial of care and surgery is
a blanket policy denying inmates needed care or surgery.

Plaintiff submits that the Defendants knowing and intentional denial of needed
medical care or surgery based upon cosi/lack of funds violates the Eighth Amendment
and amounts to deliberate indifference to his serious medical needs.

CLAIM ONE
THE DEFENDANTS WERE DELIBERATELY INDIFFERENT TO
PLAINTIFF'S SERIOUS MEDICAL NEEDS IN
VIOLATION OF THE EIGHTH AMENDMENT
LAW AND ARGUMENT
Adeguate care and deliberate indifference

As stated above, Plaintiff is suffering with pain and buming in both eyes, and has

been diagnosed as legally blind. Plamtiff was seen by LSP eye doctor and outside

specialist, and informed that surgery was necessary and could be done, however, it would

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not be performed due to cost/lack of finds. Plaintiff continued to seek medical treatment
because the condition worsened. The loss of sight, chronic pain and buming in his eyes
presents an objectively serious condition and is precluding daily living activities.
Grieveson v. Anderson, 538 F.3d 763, 779 (7® Cir. 2008); Chapman v. Peters, 111 F.3d
1364, 1373 (7® Cir. 1997). The Medical Director and physicians have substantially
departed from professional judgment by refirsing to authorize surgical repair of his
painful and debilitating eye condition. See McGowan v. Hulick, 612 F.3d 636, 640 (7°
Cir. 2010). Plaintiffs repeated complaints of pain and loss of sight have been ignored.
Plaintiff and others are being denied needed medical care and surgery based upon cost
and lack of funds without regard for the Offenders health and well being which
constitutes deliberate indifference to serious medical needs.

The practice described herein started with Dr. Raman Singh’ and the practice
continued with Dr. Jonathan Roundtree. (Both former Medical Directors at LSP). Plaintiff
submits that Dr. Raman Singh and Dr. Roundtree (former medical directors) established a
custom, of providing “only” minimal care which is deliberate indifference. This practice
was so consistent and widespread that it became policy. Dr. Collins, who is now
Medical Director, has continued the same practices. The Medical Director assures that
his subordinates, i.e., other treating physicians, nurses, and EMT's achere to this practice
resulting in the blanket denial of needed medical care and surgery. The consistent use of

this practice over years, and it's continued use, is sufficient to establish that it has become

1 Dr. Raman Singh is now Medical Director for the Louisiana Departrnemt of Public Safety and Corrections.

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policy. This unwritten policy reduces needed medical care to Offenders and needed
surgeries, and this policy is based upon cost. The denial of care is knowing and
intentional without regard for the health and well being of the inmates. Plaintiff avers that
the cost based decisions regarding needed care and/or surgery have been ongoing for
years and establish a pattern. Plaintiff submits that the Defendants were deliberately
inditferent to his serious medical needs and that of others.

Plaintiff further submits that the Defendants have established a practice of noting
in an offender's respective medical file that he has been seen, follow up has been
scheduled, prescriptions renewed, or even that surgery has been scheduled in order to
indicate that adequate medical care has been provided. Plaintiff avers this to be a blatant
cover up because in fact, no care or surgery is being provided. The fact that Plamtif saw
a doctor does not foreclose his claims. Later, when responding to ARP and/or subsequent
suit, just as dene in the instant case, the Defendants have a record “falsely indicating”
adequate medical care was being provided when in fact, the needed care is not provided.
The fact that an Offender is seen by a physician at the Clinic amounts to just that.
The Offender is seen, his complaint heard, and nothing is done to resolve the medical
problem. The promise of surgery being scheduled is nothing more than a put off. This
practice is designed to mitigate liability, but most of all it is to cut costs without regard
for the health and well being of the Offender. Within the last year, Plaintiff's medical
problems have now become worse. The Defendants are bluntly informing Plamtiff and

others that due to cost and lack of funds surgery won't be performed unless considered

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life threatening, and prescriptions are being cut to a mmimum. Plaintiff submits that
classification of surgery as “elective” does not abrogate a prison’s duty or power under
the Eighth Amendment to promptly provide necessary medical care for prisoners. Baker
v. Wilkinson, 635 F.Supp.2d 514 (WD. La. 2009).

The Defendants are aware of Plaintiff's erievance and the plethora of other
grievances and suits previously filed. Moreover, Plaintiif is aware of numerous
complaints pursuant to 42 U.S.C. § 1983 presently pending in this Honorable Court
assigned to the Honorable Magistrates Riedlinger and Bourgeois, and other offenders
preparing to file additional complaints.’ The actions and/or inactions of the Defendants
are contrary to clearly established law. Plaintiff submits that there are serious systemic
deficiencies in the access to and delivery of needed medical care and the knowing and
intentional failure to take reasonable measures to abate the constitutional violations
amounts to deliberate indifference.

Plaintiff submits that the Defendants have failed to remedy ongoing violations of
which they were aware or should have been aware due to the numerous ARP‘s and/or
suits previously filed. The actions and/or inactions of the Defendants go beyond being
arbitrary, capricious, or negligent. Plaintiff submits that the actions and/or inactions were
deliberate and that there is a pattern of this type treatment. The test of whether
2 FRANCIS BRAUNER #405665/No. 12-314-BAJ-SCR), SHON D. MILLER #427562/No. 12-
0730-FJP-SCR), WAYNE FRITZ #96177/No. 13-556-BAJ-SCR; KENNETH LESLEY #422270/No. 13-
490-JJB-5CR; EDWARD GIOVANNI/NO. 13-0566-BAJ-RLB; HYMEL VARNADO #333068/No. 13-

0348-BAJ-SCR; BERNARD DELCARPIO #119047/No. 13-0273-SDD-RLB: LEWIS BROWN
#73428/No. 11-0103-NB-SCR; LARRY ROBERTSON #250866/No. 13-00171-SDD-RLB.

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governmental action is arbitrary and capricious is whether the action is reasonable under
the circumstances. Clark v. City of Shreveport, App. 2 cir. 1995, 655 So.2d 617, 26,
638 (La. App. 2 Cir. 5/10/95). The actions described herein go beyond reasonable.
Plaintiff submits that there has been repeated deliberate inordinate delay in providing
needed medical care and surgery to himself and other offenders at the Louisiana State
Penitentiary resulting in needless pain and suffering.

The Supreme Court of the United States has recognized that the Eighth
Amendment establishes a State's obligation to provide medical care for those whom it has
incarcerated. Deliberate indifference to a prisoner’s serious medical illness or injury
states a cause of action under § 1983. Estelle v, Gamble, 429 U.S. 97, 103, 97 S.Ct. 285,
290, 50 L.Ed2d 251 (1976). Deliberate indifference describes a state of mind more
blameworthy than negligence and there must be “more than ordinary lack of due care for
the prisoner’s interests or safety” Farmer v. Brennan, 511 US. 825, 835, 114 S.Ct.
1970, 128 L_Ed.2d 811 (1994). In Estelle v. Gamble, the Court defined the standard for
Eighth Amendment review of prisoner's complaints concerning their medical treatment.
To state a cognizable claim the Court said “A prisoner must allege acts or omissions
sufficiently harmful to evidence deliberate indifference ta serious medical needs, 429
US. at 106, 97 5.C1. at 292. The required indifference could be manifested, it said “by
prison doctors in their response to the prisoner's needs or by prison guards in intentionally
denying or delaying access to medical care or intentionally interfering with the treatment

once prescribed. 429 U.S. At 104-105, 97 S.Ct. at 291.

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Under Eighth Amendment proscription against unnecessary and wanton infliction
of pain by deliberate indifference to “serious medical needs” of prisoners, medical need is
serious if it is one that has been diagnosed by physician as mandating treatment or one
that is so obvious that even a lay person would easily recognize necessity for doctor's
attention. U.S.C.A. Const. Amend, 8. Plaintiff submits that his condition would be
obvious to a layman. A more general definition of serious medical needs refers to
“conditions that cause pain, discomfort, or threat to good health.” See Estelle v. Gamble,
429 US. 97, 104, 97 S.Ct. 285 (1976), MeGuckin v. Smith, 974 F.2d at 1060. Plaintiff
avers that even a layman would not have questioned the pain he is enduring.

Plaintiff must not only show that Defendant was callously indifferent to his
medical needs, but that those needs were serious, and that failure to treat them resulted in
personal injury. It is necessary to show either denial or unreasonably delayed access to
physician for diagnosis or treatment of discomfort-causing ailment, or failure to provide
prescribed treatment. Plaintiff submits he has done so.

In the case sub judice, Plaintiff shows denial, unnecessary and/or intentional delay,
and that failure to provide adequate medical care and treatment for his serious needs
resulted in needless pain, suffering, and injury. The actions and/or inactions of the
Defendants also pose a serious threat of harm to Plaintiff's future health. As a result of
the above described actions and/or inactions, Plaintiff suffers severe pain, both physical
and mental amounting to cruel and unusual punishment.

As a practical matter, ‘deliberate indifference’ can be evidenced by ‘repeated

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examples of negligent acts which disclose a pattem of conduct by the prison medical
staffs or it can be demonstrated by ‘proving there are such systemic and gross
deficiencies in staffing, facilities, equipment or procedures that the inmate population is
effectively denied access to adequate medical care. Ramos v. Lamm, 639 F.2d 559,
575(10th Cir.1980) (citation omitted), cert. denied, 450 U.S. 1041, 101 S.Ct. 1759, 68
L.Ed.2d 239 (1981). See also Todaro v. Ward, 565 F.2d 48, 52 (2d Cir.1977).
Plaintiff submits that there are such deficiencies, and the failure of Dr. R. Singh, Warden
Cain and/or Assistant Warden Lamartiniere to assure that policies already in place were
being enforced, and take the necessary steps to abate the unconstitutional conditions, this
results in needless pain and suffering in violation of the Eighth Amendment. In the
instant case, Plaintiff avers that the actions and/or inactions of the Defendants is not
negligence or even gross negligence. The actions and/or inactions of the Defendants were
and are deliberate and there is a pattern of this type treatment. Plaintiff is not the only
inmate to endure these conditions. The Defendants were aware of his condition, its
severity, the pain tt causes, and they disregarded the need for treatment without regard for
Plaintiff's health and well being. Under such conditions, unnecessary suffering is
inevitable.

Plaintiff submits that he is entitled to damages, and that declaratory and injunctive
relief are necessary to preclude the defendants from continuing these unconstitutional
actions and assure that he and others receive adequate medical care in the future.

It is well established that a finding of deliberate indifference requires a finding of a

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defendant’s subjective awareness of the relevant risk. Farmer v. Brennan, 511 US.
825, 114 S.Ct. 1970, 1979, 128 L_Ed.2d 811 (1994).

An Inmate alleging deliberate indifference to his serious medical needs in
violation of the Eighth Amendment must prove objectively that he was exposed to a
substantial risk of serious harm and must show that the Defendants acted or failed to act
with deliberate indifference to that risk. Plaintiff submits he has done so. The deliberate
indifference standard which must be shown by the Inmate alleging that officials violated
his Eighth Amendment right to adequate medical care is a subjective inquiry. The Inmate
must establish that the officials were actually aware of the risk to which he was exposed,
yet consciously disregarded it. Plaintiff submits he has done so.

Access and Delivery of Medical Care

Plaintiff submits that the inadequate medical care described is common at the
Louisiana State Penitentiary and establishes a pattern. Plaintiff submits that inordinate
delays in receiving needed care, in seeing outside specialists, being denied needed
surgery or canceling scheduled surgeries without regard for an inmate's health and well
being is well known by inmates at LSP. Plaintiff submits that there are now over forty
(40) inmates suffering from hemias, and a plethora of offenders suffering with serious
medical needs who are not receiving adequate medical care or needed surgery. Many
offenders have serious medical problems and are being systematically turned away from
any semblance of reasonable medical care responsive to their needs. Offenders are

attending sick call for serious medical needs such as injury to tendons, severe arthritis,

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back injuries, severe pneumonia, flu, staph infection, stomach virus, hernia, etc., and the
EMT's systematically send Offenders back to their dormitories informing them that they
will see a doctor at appointment in the near future Offenders are presenting themselves
as a self declared emergency with serious medical needs, only to be sent back down the
walk to their dormitories without care, without receiving examination by a physician, the
slightest diagnostic testing, or any medical treatment. Plaintiff will provide witnesses at
trial to support his allegations.

Many offenders have medical conditions requiring surgery, and surgery is not
being provided. Physicians are routinely informing inmates that surgery will not be
provided unless life threatening due to cost and lack of funds. The Department feels that
a prisoner should expect to suffer a lifetime handicap as long as the medical problem
underlying the reason for surgery does not immediately threaten his life. Petitioner
submits that his eyes are a good example of the inadequate care being provided. Plaintiff
submits that an offender will not receive surgery unless in an emergency situation. That
literally means life or death situation. This results in needless pain and suffering and will
result in further injury, permanent lifetime handicap, or worse, even death! Again, the
classification of surgery as “elective” does not abrogate a prison's duty or power under
the Eighth Amendment to promptly provide necessary medical care for prisoners. Baker
v. Wilkinson, 635 F Supp.2d 514 (WD. La. 2009).

Even ifthe Defendants submit that the reason for lack of adequate care for serious

medical needs was due to balancing their budget or absence of funding from the

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legislature, lack of funding is not _a defense to Eighth Amendment violations. US.
Const. Amend. 8. Casey v. Lewis, 834 F.Supp. 1477, 1546 (D. Ariz. 1993), Hoptowit v.

Ray, 682 F.2d at 1253. In Newman v. State of Ala., 559 F.2d 283 (C.A. S(Ala.) 1977,
the United States Fifth Circuit noted; “it should not need repeating that compliance with
constitutional standards may not be frustrated by legislative inaction or failure to provide
the necessary funds.” See also, Hamilton v. Love, 328 F.Supp. 1182 at 1194, E.D. Ark.
(1971), “inadequate resources can never be an adequate justification for depriving any
person of his constitutional rights”

Plaintiff submits that the actions and/or inactions described herein are not
inadvertent mistakes or oversight. As stated, this practice has been used for extended
period of time and it has become policy. Plaintiff may be an incarcerated prisoner, but he
is still a human being. A prisoner does not shed all of his constitutional rights at the
prison gate. Wolff v. McDonnell, 418 U.S. 539, 94 S.Ct. 2963, 41 LEd.2d (1974) and
progeny cases.

Plaintiff submits that the Defendants actions and/or inactions amount to deliberate
indifference to his serious medical needs.

CONCLUSION

Plaintiff contends that the actions and/or inactions of the Defendants in this matter
indicate deliberate indifference to his serious medical needs and constitutes cruel and
unusual punishment. Plaintiff submits that the failure of the Defendants to provide

adequate medical care and treatment under the circumstances described indicates

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deliberate indifference to his serious medical needs. Again, Plaintiff submits that there is

an established patter of this type treatment mandating relief.

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JASON HACKER

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LOUISIANA STATE PENITENTIARY
ANGOLA, LOUISIANA 70712

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DECLARATION UNDER PENALTY OF PERJURY
I JASON HACKER, pursuant to 28 U.S.C. § 1746, hereby declare under
penalty of perjury that:
1.) I am the Plaintiff/Petitioner in the above entitled matter and [ am solely
responsible for its contents.
2. All of the allegations contained herein are frue_and correct to the best of my

knowledge, information and belief.

onthisC¥ day i Loy) , 2014.

 
  
 

a ae UBMITTED:
LZ JASON HACKER
#383727 OAK -4

LOUISIANA STATE PENITENTIARY
ANGOLA, LOUISIANA 70712

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CERTIFICATE OF SERVICE
[ JASON HACKER, hereby certify that I have placed a copy of this 42 USC. §
1983 Civil Rights Action for Declaratory and Injunctive Relief in the federal Mailbox of
the Louisiana State Penitentiary for Electronic Transfer addressed to the Clerk of Court
for the United States District Court, Middle District of Louisiana, Baton Rouge Division,

P.O, Box 2630, Baton Rouge, LA 70821on this 7¥ day of , 2014.

// JASON HACKER

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LOUISIANA STATE PENITENTIARY
ANGOLA, LOUISIANA 70712

PLEASE SERVE THE DEFENDANTS AT:

17544 TUNICA TRACE, ANGOLA, LA 70712

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